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UNITED STATES BANKRUPTCY COURT, SOUTHERN DlSTRICT OF FLORIDA

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§§HAPTER 13 PLAN tlndividugl Ad|`ustment of Debtsl

 

 

 

 

 

 

E Original Plan
|:] Amended Plan (Indicate lst, 2nd, etc. Amended, if applicable)
[:| 7th Modified Plan (Indicate lst, 2nd, etc. Modified, if applicable)
DEBTOR: Catherine E. Grieser JOINT DEBTOR: CASE NO.: 15-16810-PGH
SS#: xxx-xx- 1994 SS#: xxx-xx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-l (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a
partial payment or no payment at all to the secured creditor

. f . . . l. h _ . . '
Avo-idance‘o a judicial ien or nonpossessory, nonpurc ase money security interest, set m Included E] Not included
out in Section III

Nonstandard provisions, set out in Section VIII E] Included E Not included
II. PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

EI Included I:| Not included

 

 

 

 

 

 

 

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit ofthe creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

1. $22028.34 for months 4 to _L ;
2. $92463.32 for months 3_3 to_;
3. $62203.93 for months 3_4 to _L ;
B. DEBTQR{§|' ATTQRNEY'S FEE: m NONE [___] PRO BONO
Total Fees: $12150.00 Total Paid: $3690.00 Balance Due: $8460.00
Payable $92.50 /month (Months ; to § )
Payable $3,053.68 /month (Months 13_ to_)
Payable $90.60 /month(Months § to § )

Allowed fees under LR 2016-l(B)(2) are itemized below:
$3500.00 Attomey Fee; $150.00 Costs; $750.00 Strip; $750.00 Strip; $500.00 Modify; $500.00 Modify; $6500.00 Hourly Fees for
Depositions, Meetings, Hearings, and negotiations

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

III. TREATMENT OF SE§;!JRED §§LAIM§
A. SECURED CLAIMS: [:| NONE
[Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:

 

 

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Debtor(s): Catherine E. Grieser

 

 

l- Creditor¢ Via Lago Condominium Association, Inc.

Case numbers 15-168 lO-PGH

 

 

Address: c/o Davenport Prof. Prop. Arrearage/ Payoff on i>etiiion Dace $34064.00
M mt.
66g20 Lake Worth Rd" Regular Payment (Maintain) $458.20 /month (Months ; to £ )
Ste. F Regular Payment (Maintain) $692.91 /month (Months 33 to 60 )
Lake Worth, FL 33467 `_
Last 4 Digits of
Account No.: B-l
Other: Amount paid in months 33 to 60 includes an additional $38.00 per month assessment increase.
[:] Real Property Check one below for Real Property:
|:[Principal Residence |:]Escrow is included in the regular payments
|:|Other Real Property I:|The debtor(s) will pay I:|taxes I:]insurance directly
\
Address of Collateral:

700 Lake Street, B-l, Boynton Beach, FL

[:I Personal Property/Vehicle

Description of Collateral:

 

 

2- Creditori Via Lago Condominium Association, Inc.

 

 

 

 

Addr¢SS¢ /O Dav€np<>rt PrOf- PrOp. Arrearage/ Payoff on Peciiion Dace $34064.00
M mt.
650 Lake Worth Rd" Regular Payment(Maintain) $458.20 /month (Months l to § )
Ste. F Regular Payment (Maintain) $692.91 /month (Months 33 to £ )
Lake Worth, FL 33467
Last 4 Digits of
Account No.: C-3
Other: Amount paid in months 33 to 60 includes an additional $38.00 per month assessment increase.
I_i_l Real Property Check one below for Real Property:
E]Principal Residence [:]Escrow is included in the regular payments
|:}Other Real Property [:|The debtor(s) will pay [:|taxes [:]insurance directly

Address of Collateral:
700 Lake Street, C-3, Boynton Beach, FL

m Personal Property/Vehicle

Description of Collateral:

 

 

3- Creditori Via Lago Condominium Association

 

 

Addressf ¢/O Dav¢nporf PrOf- PrOP- Arrearage/ Payoffon Petition Date $5,000.00

M t.
66§:‘Lake Worth Rd_’ Regular Payment (Maintain) $178.5 7 /month (Months 3 to & )
Ste. F
Lake Worth, FL 33467

Last 4 Digits of

Account No.: B-l

Other: The payment is a special assessment levied against each property in the community.

 

 

 

 

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Debtor(s): Catherine E. Grieser

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E] Real Property
\:[Principal Residence

|:lOther Real Property

Address of Collateral:
700 Lake Street, B-l, Boynton Beach, FL

m Personal Property/Vehicle

Description of Collateral:

Check one below for Real Property:
|:lEscrow is included in the regular payments

E]The debtor(s) will pay [:ltaxes

|:]insurance directly

 

 

4- Creditori Via Lago Condominium Association, Inc.

 

 

700 Lake Street, C-3, Boynton Beach, FL

ll Personal Property/Vehicle

Description of Collateral:

Addressr C/O Davenport PrOf- PrOp- Arrearage/ Payoffon Pemion pace $5000.00
M mt.
66§20 Lake Worth Rd., Regular Payment (Maintain) $178.57 /month (Months 3 to 6_0 )
Ste. F
Lake Worth, FL 33467
Last 4 Digits of
Account No.: C-3
Other: The payment is a special assessment levied against each property in the community
|:] Real Property Check one below for Real Property:
[:|Principal Residence \:]Escrow is included in the regular payments
I:Dther Real Property @The debtor(s) will pay \:|taxes []insurance directly
Address of Collateral:

 

 

 

 

B. VALUATION OF COLLATERAL: m NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON

YOU PURSUANT TO BR 7004 AND LR 3015-3.
l. REAL PROPERTY: l:] NONE

 

Address; c/o Davenport Prof. Prop.
Mgmt.
6620 Lake Worth Rd., Ste. F

Last 4 Digits of Account No.: B-l

Interest Rate: 5.25%

Check one below:

\:\ Escrow is included in the monthly
mortgage payment listed in this section

Real Property

I:]Principal Residence El The debtor($) Wl" Pay

E|Other Real Property |:]taxes minsurance directly
Address of Collateral:

700 Lake Street, B-l, Boynton Beach, FL

 

 

 

1. Creditor; Via Lago Condominium value of Collateral: $275,000.00
Association, Inc. , _
Amount of` Creditor's Lien: $60,000.00

$433.67

 

Pa ment

Total paid in plan: $65,534.00

/month (Months l to 3_2)
$1,844.87 /month (Months 33 to § )

 

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Debtor(s): Catherine E. Gn'eser Case number: 15-16810-PGH

 

 

2. Creditor; Via Lag<> Condominium value of Collateral: $340,000.00 j
Association, Inc. _
Amount of Creditor's Lien: $60,000.00
Address; c/o Davenport Prof. Prop. "
Mgmt.
6620 Lake Worth Rd., Ste. F Interest Rate: 5.25% P t
Lake worth, FL 33461 M
Last 4 Digits OfAccount NO_: C_3 Check one below: Total paid in plan: $65,534.00
I:| Escrow is included in the monthly
Real Property mortgage payment listed in this section $433.67 /momh (Months i w 32 )
. . . T ' _
ElPrmC'Pal Resldence [:| he debt°r(s) will pay $1,844.87 /momh (Months 33 co go )
mother Real Property E]taxes [:I insurance directly
Address of Collateral:
700 Lake Street, C-3, Boynton Beach, FL

 

 

 

 

 

 

2. vEHiCLEs(s): |E NONE
3. PERsoNAL PRoPERTY= [§] NONE

C. LIEN AVOIDANCE [:| NONE

D. SURRENDER OF COLLATERAL: Secured claims fi
distribution fom the Chapter 13 Trustee.
l_i_] NONE

E. DIRECT PAYMENTS: Secured claims fi
fom the Chapter 13 Trustee.

[] NONE

@ The debtor(s) elect to make payments directl
confirmation of this plan the automatic stay
codebtor(s) as to these creditors. Nothing he

 

 

led by any creditor granted stay relief in this section shall not receive a

 

led by any creditor granted stay relief in this section shall not receive a distribution

y to each secured creditor listed below. The debtor(s) request that upon
be terminated in rem as to the debtor(s) and in rem and in personam as to any
rein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Last 4 Digits of Account No. Descrir)tion of Collateral (Address Vehicle. etc.l

Green Tree Servicing 7287 700 Lake Street, C-3, Boynton Beach, FL
' 332 Minnesota St., Ste. 610

St. Paul, MN 55101

chen Loan Servicing 4560
' 12650 Ingenuity Dr.
Orlando, FL 32826

chen Loan Servicing 0500
' 12650 Ingenuity Dr.
Orlando, FL 32826

700 Lake Street, C-3, Boynton Beach, FL

700 Lake Street, B-l, Boynton Beach, FL

IV. TREATMENT OF FEES AND PRIORITY CLAIMS las defined in ll U.S.C. §507 and ll U.S.C. § 1322(3)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: I:] NONE
B. INTERNAL REVENUE SERVIQE: E] NONE
C. DOMESTIC SUPPORT OBLIGATION{S[: @ NONE
D. OTHER: [:] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $66.92 /month (Months ; to § )
Pay $116.64 /month (Months § to 6_0 )
Pro rata dividend will be calculated by the Trustee upon review of` filed claims after bar date.
B. m If checked, the Debtor(s) will amend/modify to pay 100%
C. SEPARATELY §§LAS§IFIED: l:] NONE

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to all allowed unsecured nonpriority claims.

VI.

VII.
VIII.

 

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Debtor(s): Catherine E. Grieser Case number: 15-16810-PGH

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to 11 U.S.C. § 1322.

EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

[E NONE

INCOME TAX RETURNS AND REFUNDS: @ NONE

NON-STANDARD PLAN PROVISIONS m NONE
['_i] Nonstandard provisions must be set forth below, A nonstandard provision is a provision not otherwise included in the Local

 

 

Fonn or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

In the event Debtor recovers any proceeds from a potential lawsuit, any funds received by Debtor shall be paid to the Chapter 13
Trustee to be distributed as additional payment to unsecured creditors, over and above what is currently being paid through the
plan, and which may pay up to 100% allowed, unsecured claims in this cause.

F or purposes of the plan only, the Debtor and Via Lago Condominium Association, Inc. agree as follows:

Via Lago Condominium Association, Inc. shall have a secured arrears claim against 700 Lake Street, Unit B-l, Boynton Beach,
FL for the sum of $60,000.00; and a secured arrears claim against 700 Lake Street, Unit C-3 Boynton Beach, FL for the sum of
$60,000.00 (Both units collectively referred to hereafter as the "Property"). The referenced arrearage shall be paid at an interest
rate of 5.25% over the remaining term of the plan. Upon completion of the plan payments and issuance of discharge, Via Lago
Condominium Association, Inc., shall satisfy and release any of its pre-petition lien(s), judgments, or claims existing against the
"Property". Payment of the agreed arrearage by the debtor shall constitute full and final payment of any and all claims for
arrearages, assessments, attorneys fees, liens, judgments, costs or other claims which Via Lago Condominium Association, Inc.
has against the Debtor which existed pre-petition and through and including the date this modified plan is confirmed

At its own expense, Via Lago Condominium Association, Inc., shall, within 30 days of confirmation of the 5th modified plan in
this case, arrange for professional inspection of the roof(s) and other common areas of the "Property" to determine what, if any,
repairs are necessary to stop and abate water intrusion into the "Property". The roofing contractor to be utilized for this purpose
shall be agreed upon by counsel for the Debtor and for Via Lago Condominium Association, Inc., respectively. Af`ter the
determination of any necessary repairs required, Via Lago Condominium Association, Inc., at its own expense, shall arrange to
have the necessary repairs completed forthwith, time being of the essence. Via Lago Condominium Association, Inc. shall have
no responsibility for repairs and/or remediation necessary to the interior portions of the "Property" due to damage which currently
exists. Debtor waives and releases any and all claims she may have against Via Lago Condominium Association, Inc., its
officers, board members, employees or agents for any damages done to the interior of 700 Lake Street, C-3 Boynton Beach,
Florida and/or 700 Lake Street, B-l, Boynton Beach, Florida prior to the continuation of the 5th modified plan in this case, This
waiver and release applies solely to damage done to the interior of the "Property" prior to the confirmation of the 5th modified
plan in this case. No other rights, remedies, or causes of action by the Debtor against Via Lago Condominium Association, Inc.,
its officers, board members, employees or agents are covered by the waiver and release referred to above, and same are
specifically retained by the Debtor, Simultaneous with, or immediately prior to the roof and common areas inspection described
above, the parties shall have an inspection of the interior of the "Property" performed by a professional agreed to by the parties to
determine all currently existing damage to the "Property", if any.

Tom Waldron, Sr. made a payment in the amount of $1,500.00 to Via Lago Condominium Association, Inc., prior to
confirmation of this modified plan. These funds shall be applied to the account of the Debtor, and may result in the Debtor
having a credit balance with the Via Lago Condominium Association, Inc. at the conclusion of this plan.

The Debtor and Via Lago Condominium Association, Inc. have discussed issues relating to the seawall abutting the "Property",
and no agreement has been reached to resolve any issues or repairs required, and both parties retain all rights, defenses and claims
regarding the seawall issues, and/or damages or responsibilities related to same.

Debtor and Via Lago Condominium Association, Inc. understand and agree that future assessments on the units may change. In
the event a change occurs, Via Lago Condominium Association, Inc. shall file a Notice of Payment Change in this case and the
Debtor shall either modify the plan to account for the increase, pay the difference directly to Via Lago Condominium
Association, Inc., or object to the increase, as is appropriate

[:] Mortgage Modification Mediation

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Debtor(s): Catherine E. Grieser Case number: 15-16810-PGH

 

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATlON.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

/s/ Catherine E. Grieser Debtor january 8, 2017 Joint Debtor
Catherine E. Grieser Date Date
Attomey with permission to sign on Date

Debtor(s)‘ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIII.

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